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Se IN 7....: UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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PEP oO ONAMGY MAYER WHITTINGTON, CLERK

**" US. BISTRICT COURT

CLASS ACTION

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.MARK A- WILSON ye ag

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INDIVIDUALLY AND ON BEHALF OF
ALL OTHER SIMILARLY SITUATED
PERSONS

Plaintiffs,
Vs.

James H. Billington, Librarian
LIBRARY OF CONGRESS
WASHINGTON, DC

eR HOE

Defendant.

CLASS ACTION COMPLAINT

L. NATURE OF ACTION

1. Plaintiffs, minority employees who are or have been employed by or have
sought employment at the Library of Congress (“LOC”) from approximately January = 2003
to the present bring this action, on their own behalf, and on behalf of all other similarly situated
minority employees and minority job applicants to address a pattern and practice of
discrimination on the basis of color, national origin, and/or race by the Library of Congress in
violation of Title Vi of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e and the Civil
Rights Act of 1991,42 U.S.C § 1981a. Plaintiffs allege that the Library of Congress’ personnel
policies, practices, and procedures discriminate against minority employees and applicants on
the basis of race, national origin and/or color in the following areas: selections for competitive
positions and promotions, transfers, assignments and other career enhancing opportunities;
preferred assignmenis; discipline; awards and bonuses; training; harassment and hostile work
environment based on race, national origin, or color; systemic retaliation, and other terms and
conditions of employment. On the basis of these violations, plaintiffs seek equitable relief
including, but not limited to, back pay, front pay, other lost compensation, compensatory

damages, a declaratory judgment, and an injunction requiring the Library of Congress to cease
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IL JURISDICTION, EXHAUSTION OF ADMINISTRATIVE. REMEDIES

2. Jurisdiction of this Court is based upon 42 U.S.C. '§ 2000e-5, 2000e-16, and
28 U.S.C. § 1331 (federal question) and 1343 (civil rights). Venue is proper in this District
pursuant to 28 U.S.C. § 1391(e) and 42 U.S.C. 2000e-5(f.

3. Plaintiffs have exhausted administrative remedies. On or about May 28, 2004,
Christine M. Mills initiated contact with the agency’ s office of Equal Employment Opportunity
("EEO") and caused to be filed a class action complaint. See Attached Exhibit “A”. The initial class
complaint alleged discrimination in the recruitment of applicants, hiring initial job assignments,
transfers, promotions, retention, training, awards and bonuses, and discipline. On approximately
September 20, 2004, Plaintiffs received a “Right to Sue Letter’. See Attached Exhibit “B’.

4. From at least early 2003 to the present, members of the class raised these issues
with Library of Congress management from time to time, but no meaningful effort was made to
address the discriminatory policies, practices and procedures.

5. In fact, throughout this period, the Library of Congress management systematically
retaliated against members of the class who brought claims or otherwise sought to address the
problems of discrimination within the Library of Congress. This "system of retaliation” is more fully
described in Section V.

6. From at least January 2003, Defendant Library of Congress has been on notice that

the personne! policies, practices, and procedures described herein were discriminatory and yet it

. failed to take action.

a. From at least January 2003 forward, minority employees of the Library of
Congress have complained about similar personnel policies, practices and
procedures resulting in discrimination against minority employees and

applicants in promotions, assignments, awards and bonuses, training,
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disciplir-~~ harassment and retaliation. Library of agress management

-promised that it would address the discrimination hut failed to do so in any
meaningful way.

b. Despite knowledge of the above facts, Library of Congress officials did not
act to eliminate the discriminatory policies, practices, and procedures at the

Library of Congress as described herein.

Hl. PARTIES
7. The named plaintiffs are all current or former minority employees of the Library of

Congress or minority applicants for positions at the Library of Congress. The named plaintiffs, as a
group, have perfumed a wide variety of the jobs at the Library of Congress. Many have received
commendations for their work. The named plaintifis are as follows:

a Plaintiff Christine Mills is a current Library of Congress employee and has
worked for Defendant since at least January 1, 2003.

b. Plaintiff Runako Balondemu is a former or current Library of Congress
employee and has worked for Defendant since at least January 1, 2003.

C. Plaintiff Amy Barnes is a former or current Library of Congress employee
and has worked for Defendant since at least January 1, 2003. -

d. Plaintiff Arnice Cook is a former or current Library of Congress employee
and has worked for Defendant since at least January 1, 2003.

e. Plaintiff Robert Cooper is a former or current Library of Congress
employee and has worked for Defendant since at least January 1, 2003.

f. Plaintiff Michael Durrah, It is a former or current Library of Congress .
employee and has worked for Defendant since at least January 1, 2003,

g. Plaintiff Geradine Duncan is a former or current Library of Congress
employee and has worked for Defendant since at least January 1, 2003.

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I Platt Sabrae Hilliard is a former or curren, __ rary of Congress

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employee and has worked for Defendant since at least January 1, 2003.

j. Plaintiff Priscilla ljeomah is a former or current Library of Congress
employee and has worked for Defendant since at least January 1, 2003.

k. Plaintiff Lawrence Perry is a former or current Library of Congress
employee and has worked for Defendant since at least January 1, 2003.

I. Plaintiff William Rowland is a former or current Library of Congress
employee and has worked for Defendant since at least January 1, 2003.

m. Plaintiff Mark A. Wilson is a is a former or current Library of Congress

employee and has worked for Defendant since at least January 1, 2003.

IV. CLASS ACTION ALLEGATIONS

9. Plaintiffs have filed this case as a class action pursuant to Fed. R. Civ. P. 23 (a), 23 (b)
(2). and 23 (b)(3).
10. This action is properly maintainable as a class action under Rule 23 (a) because: (a)

‘the class includes hundreds of current and former minority employees of the Library of Congress
and applicants which makes the class so numerous that a consolidated complaint of the members
of the class is impracticable; (b) the claims alleged on behalf of the class raise questions of law or
fact common to the class: (c) the claims of the class representatives arc typical of the claims of the
class; and (d) the class representatives and class counsel will adequately and fairly protect the
interests of the class.

11. This action is properly maintainable as a class action under Rules 23(b)(2)and 23
(b)(3) because: (1) the defendant has acted on grounds generally applicable to the class, thereby
making appropriate final injunctive relief or corresponding declaratory relief with respect to the class
~ as a whole; (2) there are question's of law or fact common to members of the class that
‘predominate over any questions affecting only individuals; and (3) a class action is superior to other

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frethods for the fair and efficieadjudication of the controversy.

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42. Plaintiffs request that the class be defined as the named plaintiffs and all current or
_ former minority employees of the Library of Congress who worked for the Library of Congress from
January 1, 2003 to the present and applicants to positions at the Library of Congress since January
1, 2003.

V. CLAIMS: The Library of Congress (LOC) Has Created, Allowed and/or Maintained

the Following Discriminatory Practices and Policies Which Directly and/or
Indirectly Impact the Class in a Discriminatory Manner in Violation of Title Vi

A. Denial of Hiring and Promotion Opportunities

13. LOC has denied minority employees (including African Americans, Hispanics, and
Asians), equal opportunity for hiring and promotion by assigning them to the least desirable jobs
and lines of progression wherein opportunities for training and advancement are limited, while
assigning white/caucasian employees of less or equal experience to more desirable jobs and lines

of progression wherein training and greater opportunity for advancement is provided.

B. Discriminatory Recruiting Practices

14. LOC has utilized jobs recruiting methods for supervisory, managerial, technical, and
non-professional and professional positions which are designed to reach primarily white persons
and thereby insure that minimal number of minority persons will be considered for those positions,
including but not limited to the practice of limiting the area of consideration for promotion to such
positions to persons already employees of particular divisions of the Library. Further, LOC has
recruited contract employees in an effort to avoid equal opportunity employment for minority
employees and applicants, causing an adverse impact on the minority employees and applicants,
by denying them opportunity to compete for positions while using funds provided by the U.S

Goverment.

C. Discriminatory Classification Systems
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15. LOC has utilize“slassification systems known as non-{_ sssional and professional

wget”

keeping minority employees concentrated in the lower graded positions while white employees are
concentrated in the higher graded positions leaving minority employees with limited advancement

opportunities. LOC does not allow significant cross-application or movement between these

classification series, thereby artificially limiting minority employee opportunities for advancement.

D. Discriminatory Classifications (Work at Home)

46. | The dual classification systems are used with contractual agreement to prevent
minority employees classified as non-professional from working at home, resulting in class

discrimination caused by the Library's classification system resulting in race discrimination.

E. Discriminatory Training Opportunities

17. . LOC has denied minority employees training details, and other experience building |
assignments which would enhance their ability to be promoted, while providing such opportunities
to white persons. Also known as “grooming,” the practice of giving preferable training opportunities
to white/Caucasian employees while denying the same opportunities to minority employees

adversely affects the minority employees’ opportunities for advancement.

F. Discriminatory Job Criteria

18. LOC has maintained and utilized arbitrary and/or irrelevant job criteria, including
certain requirements of testing, education, training experience, and other jobs requirements and
selection criteria which effectively exclude qualified minority employees from hiring, training, and
promotion of opportunities. These requirements are not job related, and do not add to the

operations, and conduct of the Library’s business.

G. Searegated Work Force
selene, er

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19. LOC has maint’~sd a segregated work force placing r_ rity employees ina

promotion and training system based upon the subjective evaluation of white and Caucasian
supervisors which locks minority employees into discriminatory assignments and denies them

equal opportunity for promotion.

H. Discriminatory Discipline

20: LOC has disciplined minority employees, and subjected them to more harsh adverse
actions than whites on a discriminatory basis by stringently applying rules and regulations to them
while ignoring or waiving such rules and regulations with respect to white and Caucasian

employees.

I. Discriminatory Non-Competitive Actions

21. LOC has allowed and taken non-competitive actions for white/Caucasian employees
and applicants, such as non-competitive appointments, non-competitive details, non-competitive
temporary promotions and non-competitive permanent promotions while denying minority

employees and applicants the same opportunities.

J. Discriminatory Promotions

22. LOC maintains standards, selections, promotions, and assignments to give contract
employees the advantage over miriority employees and applicants, by circumventing the
requirement of LCR 2010-3.1 and Title VII of the Civil Rights Act of 1964, as Amended, and all
other Library of Congress Regulations pertaining fo selection for positions in the Library of

Congress.

K. Retaliation and Hostile Work Environment

23. LOC retaliates against minority employees, for filing charges of race, national origin

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And color discrimination agains” sibrary officials and has created andr _ tained a hostile work

environment for minority employees.

L. Disproportionate Work Force

24. LOC specifically maintains a work force that keeps minority employees in the lowest
paying grades and positions in a greatly disproportionate number than are represented by whites in
the lower grades and positions and not in numbers representative of equal employment

opportunity.

M. Discriminatory Contractual Practices

25. LOC maintains devices, regulations, and systems using U.S. Government funds to
allow no bid contracts, appointments, and selections for positions without competition, often
restricts competition fo very small units aiding in a process of pre-selection having an adverse _
impact on minority employees and applicants, by excluding them from training by placing whites in
positions without competition in training status, while not allowing minority employees and
applicants, the same opportunity for the same positions, and justifying the selection of whites,

because of the training and experience gained.

N. Privacy Issues

26. LOC grants open access to private contract employees to the personnel files,
records and data bases of the Federal Government employees violating the private rights and Civil

Rights of the government employees, which adversely impact minority employees and applicants.

O. Non-Responsiveness of Government Offices

297. LOC has established offices giving the impression that they are for the purpose of
providing service to minority employees and applicants, when in fact they exist as conspiracies with

all management against the employees having an adverse impact on minority employees, who rely
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Gn their service. These officee~slude, but are no limited to, the Equal. ployment Opportunity

Complaint Office, the Employee Assistance Office, the Health Service Office, the Employee
Relations Office, the Dispute Resolution Office, The Office of Inspector General, the Office of
General Counsel, the Human Resources Department, the Office of the Librarian of Congress, and

the Labor Relations Office.

P. Discriminatory Regulations

28. LOC created and maintained a system of Library of Congress Regulations, and Labor

Union Contracts that are discriminatory, as applied, to minority employees and applicants.

Q. Emotional Distress

29. The Library of Congress has intentionally discriminated against minority employees
: and applicants in their personnel policies, procedures and practices met forth above. As a result, the
plaintiffs and the class they seek to represent have withered emotional distress, humiliation and
embarrassment. Such emotional distress has been manifested in a variety of ways including, but not
limited to, psychological trauma, physical injury, and other symptoms to be proven at trial.

30. As additional evidence of discrimination and information about potential victims of

discrimination is discovered, this complaint is subject to amendment.

R. Class Members and Representatives / Named Plaintiffs — Typical Claimants

31. The following Class Members and Representatives have experienced
personally one or more types of discrimination since January 1, 2003 and are representative
of the remaining class members. At least one Class Representative experienced a qualifying
event in the thirty to forty five days prior to the first contact with an EEO counselor.
a Plaintiff Christine Mills has personally experienced at least one incident of
discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28

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(Section V, Counts A-P), abo since January 1, 2003. :

b. Plaintiff Sheldon Austin has personally experienced at least one incident

of discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28

(Section V, Counts A-P), above, since January 1, 2003.

C. Plaintiff Runako Balondemu has personally experienced at least one
incident of discrimination and/or retaliation at the hands of the Defendant, as described in
Paragraphs 13-28 (Section V, Counts A-P), above, since January 1, 2003.

d. Plaintiff Amy Barnes has personally experienced at least one incident of
discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28
(Section V, Counts A-P), above, since January 1, 2003.

e. Plaintiff Amice Cook has personally experienced at least one incident of
discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28
(Section V, Counts A-P), above, since January 1, 2003.

f. Plaintiff Robert Cooper has personally experienced at least one incident
of discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28
(Section V, Counts A-P), above, since January 1, 2003.

g. Plaintiff Michael Durrah, I! has personally experienced at least one
incident of discrimination and/or retaliation at the hands of the Defendant, as described in
Paragraphs 13-28 (Section V, Counts A-P), above, since January 1, 2003.

h. Plaintiff Geradine Duncan has personally experienced at least one

incident of discrimination and/or retaliation at the hands of the Defendant, as described in

Paragraphs 13-28 (Section V, Counts A-P), above, since January 1, 2003.

i. Plaintiff Ulinda Fenwick has personally experienced at least one incident
of discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28
(Section V, Counts A-P), above, since January 1, 2003.

j. Plaintiff Sabrae Hilliard has personally experienced at least one incident

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of discrimination and/or retalia””~. at the hands of the Defendant, as de__bed in Paragraphs 13-28

(Section V, Counts A-P), above, since January 1, 2003.

K. Plaintiff Priscilla Iieomah has personally experienced at least one incident
of discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28
(Section V, Counts A-P), above, since January 1, 2003.

I. Plaintiff Shantel Lambert has personally experienced at least one incident
of discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28
(Section V, Counts A-P), above, since January 1, 2003.

m. Plaintiff Lawrence Perry has personally experienced at least one incident
of discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28
(Section V, Counts A-P), above, since January 1, 2003.
n. Plaintiff William Rowland has personally experienced at least one incident
~ of discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28
(Section V, Counts A-P), above, since January 1, 2003.
oO. Plaintiff Carlin Sayles i has personally experienced at least one incident of
discrimination and/or retaliation at the hands of the Defendant, as described in Paragraphs 13-28

(Section V, Counts A-P}, above, since January 1, 2003.

PRAYER FOR RELIEF

32. The foregoing claims against the Library of Congress establish a pattern and practice
_ of discrimination on the basis color, race, and national origin in violation of Title VII of the Civil Right

Act of 1964,42 U.S.C. § 2000c, as amended, and the Civil Rights Act of 1991, 42 U.S.C. § I981a.

33. Therefore, Plaintiffs pray that the following relief be granted to them, and to those they

represent:

(a) Enter a declaratory judgment that defendant's conduct as alleged herein has violated
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olaintiff's civil rights of the mine~ employees of the Library of Congres, 1der 42 U.S.C. § 2000e

and 42 U.S.C.§ 198 1a; .

{b) Enter a permanent injunction barring defendant from
continuing to engage in the illegal and discriminatory conduct alleged
herein;

(c) ° Enter a permanent injunction barring defendant to take such affirmative steps
as necessary to remedy the effecis, and prevent future occurrences, of the illegally

discriminatory conduct alleged herein;

(d) Award compensatory damages according to proof for each plaintiff and each

~ class member up fo the legal limit and back pay and other such damages as would compensate

fully each plaintiff and class member for the emotional distress and other harm alleged herein;
{e) Award reasonable attorney fees, expert fees, and costs pursuant to 42
U.S.C. § 1988 and 42 U.S.C. § 2000e; and

(g) Order other such relief as just and proper.

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Demand for a Jury Trial

Pursuant to Fed. R. Civ. P. 38 (b), the plaintiffs demand a

of all issues so triable as of right.

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Pro Se Plaintiffs

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